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                       UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI


In Re: BENJAMIN B. FISHER                                                        CHAPTER 13
                                                                             NO. 17-10176 JDW

                              MOTION TO REINSTATE CASE

        COMES NOW, BENJAMIN B. FISHER , Debtor in the above styled and numbered
cause, by and through undersigned counsel and moves this Court for an Order reinstating the
above captioned Chapter 13 Bankruptcy, respectfully showing unto the Court as follows:


        1. That Debtor filed a Petition for relief under Chapter 13 of the Bankruptcy Code on the
18th day of January, 2018, in the above styled and numbered cause.


        2. This Court has jurisdiction pursuant to 11 U.S.C. §1334, and this is a core proceeding
pursuant to 28 U.S.C. § 157(b)(2)(A).


        3. That on March 2, 2018, this Court entered an Order Dismissing Debtor’s Chapter 13
Bankruptcy (Dkt. #53) as a result of the Debtor having not timely paid funds to the Trustee.


        4. The Debtor is now current on his plan payments through the month of March, 2018
and will remit the funds necessary for the April, 2018 payment prior to the entry of an Order on
this matter.


        WHEREFORE, Debtor prays this Court will enter its Order reinstating his Chapter 13
Bankruptcy to allow him to complete his Chapter 13 Plan. Debtor prays for such other, further
and general relief to which he may be entitled.
                                                     Respectfully Submitted,
                                                     BENJAMIN B. FISHER , Debtor

                                             BY:     /s/ Robert Gambrell
                                                     ROBERT GAMBRELL; Attorney for
                                                     Debtor; MSB #4409
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                                  CERTIFICATE OF SERVICE

       I, ROBERT GAMBRELL, Attorney for the above listed Debtor, do hereby certify that the
following have been served electronically via ECF with a copy of the above Motion to Reinstate
to:

       David W. Asbach, Acting U. S. Trustee
       Locke D. Barkley, Chapter 13 Trustee
       and to all parties that have entered an appearance requesting service via ECF

       This the 13th day of April, 2018.

                                                     /s/ Robert Gambrell
                                                    ROBERT GAMBRELL
                                                    GAMBRELL & ASSOCIATES, PLLC
                                                    101 Ricky D. Britt Blvd., Ste. 3
                                                    Oxford, MS 38655
                                                    Ph: (662)281-8800 / Fax: (662)202-1004
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